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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION


RAVGEN, INC.,                             Civil Action No. 1:20-cv-692-ADA

                 Plaintiff,                 JURY TRIAL DEMANDED

           v.

NATERA, INC. AND NSTX, INC.

                 Defendants.


                JOINT CLAIM CONSTRUCTION STATEMENT
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            Pursuant to the Joint Proposed Amended Scheduling Order (Dkt. 47), Plaintiff Ravgen,

 Inc. and Defendants Natera, Inc. and NSTX, Inc. (together, “Defendants”), the Parties in the above

 captioned actions, submit this Joint Claim Construction Statement. All references to claims and

 citations refer to the two asserted patents in the case, U.S. Patent No. 7,332,277 (“the ’277 Patent”)

 and 7,727,720 (“the ʼ720 Patent”).

 I.                 AGREED CLAIM TERMS AND CLAIM CONSTRUCTION ISSUES

      Claim Term                                             Agreed Construction
      “a the sample”                                         “the sample”
      (’277 Patent, Claim 81)

      Proposed for construction by Plaintiff1



II.                 DISPUTED CLAIM TERMS

      Claim Term                          Ravgen’s Proposed                   Defendants’ Proposed
                                          Construction                        Construction
      “relative amount of                 Plain and ordinary meaning          Percentages of alleles
      alleles”/“relative amount of
      the alleles” (’277 Patent,
      Claims 1, 116)

      Proposed for construction by
      Defendants
      “agent that [inhibits cell lysis    Plain and ordinary meaning.         Compound that slows or stops
      to inhibit the lysis of                                                 cell lysis, including
                                          In the alternative, plain and
      cells/inhibits lysis of                                                 anticoagulants like EDTA
                                          ordinary meaning, wherein the
      cells/impedes cell lysis] . . .                                         (clarification of/consistent
                                          plain and ordinary meaning is:
      wherein said agent is selected                                          with plain and ordinary
                                          a substance that inhibits the
      from the group consisting of                                            meaning)
                                          rupture of cells that is selected
      membrane stabilizer, cross-         from the group consisting of        In the alternative, indefinite
      linker, and cell lysis inhibitor”   membrane stabilizer, cross-
      (’277 Patent, Claims 8, 55,         linker, and cell lysis inhibitor,
      81; ’720 Patent, Claim 1)           and does not include other
                                          categories of substances that

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   See Plaintiff’s Unopposed Motion to Correct Obvious Error in Claim 81 of U.S. Patent No.
 7,332,277 (Dkt. No. 54).
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Claim Term                      Ravgen’s Proposed                 Defendants’ Proposed
                                Construction                      Construction
Proposed for construction by    only indirectly affect cell lysis
Defendants                      such as anticoagulants and
                                chelators like EDTA, nor
                                endogenous substances that are
                                not selected to be added”
“if cells are present” (’277    Plain and ordinary meaning          Conditions the “agent that
Patent, Claim 55)                                                   inhibits lysis of cells” element
                                In the alternative, plain and
                                                                    (clarification of/consistent
                                ordinary meaning, wherein the
                                                                    with plain and ordinary
Proposed for construction by    plain and ordinary meaning of
                                                                    meaning)
Defendants                      “if cells are present”
                                conditions the phrases              In the alternative, indefinite
                                “[inhibits cell lysis to inhibit
                                the lysis of cells/inhibits lysis
                                of cells/impedes cell lysis]”
“free fetal DNA isolated”       Plain and ordinary meaning          Free fetal DNA whose
(’277 Patent, Claim 55)                                             proportion versus maternal
                                                                    DNA was increased

“isolating free fetal nucleic                                       increasing the proportion of
acid” (’277 Patent, Claim 81)                                       free fetal versus maternal
                                                                    nucleic acid obtained

“isolating free nucleic acid”                                       increasing the proportion of
(’720 Patent Claim 1)                                               free nucleic acid obtained

Proposed for construction by
Defendants




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Dated: February 2, 2021

By:

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above document has been served on all

counsel of record via the Court’s ECF system on February 2, 2021.

                                                   /s/ Kerri-Ann Limbeek (pro hac vice)
                                                   Kerri-Ann Limbeek




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